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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 5.1.1
                               Eastern Division

Nickolas Lee
                                Plaintiff,
v.                                                   Case No.: 1:09−cv−03166
                                                     Honorable Edmond E. Chang
City of Chicago, et al.
                                Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, July 8, 2013:


        MINUTE entry before Honorable Edmond E. Chang: Plaintiff's motion to incur
expenses [187] is granted, but Plaintiff will be expected to repay expenses if the Court
actually releases funds for the Marshals Service expenses. Relatedly, the Court maintains
in place the writ ad testificandum, R. 173, to the extent necessary (Plaintiff also has some
pending post−federal−conviction matter in another case), to maintain Plaintiff in this
District until the signing of the written settlement agreement. Mailed notice(slb, )




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